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UNITED STATES DISTRI(.`T COURT
SOUTHERN DISTRICT OF TEXAS
CORPIJS CHRISTI DIVISION

l{l~`,_\` ti C`.-XR []-)OS,' and

Xl.l\R'l.-\ E)Fl iC.-\I)O (¢`.-\\l|)(¢).‘},

individually and as next friend ot minor

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CORPOR;~\TI\=’O GRUPO l:\'ISi-\ S.A.

DE C.\’.,' lNDUS'l`RIl\'r\S MON'l`ERREY

S.A. DE C.V.,' CRUPO Ii\/[SA S.A.B. DE

C.V.,' and IR»*ISALUI\»'I, S./-\. DE C.V.,
Dr,jfendmzrs

rff)(ffl rff) "If.l U'f.' ’ffi 'ff. Ff]» 'L"i

PLAINTIFFS' ORIGINAL COMPLAINT
'l`O THE HONORABLE ]UDGE OF SAlD COUR'I`:

Plaintiffs_Rene Cainpos,' and Maria DelgadO Calnpos, individually and as next
friend Of minor Marelly Delgadc) Cainpos_file their Original Coniplaint against
Defendants_LOuisville Ladder, lnC., COrpOrati\/O Grupo linsa S.A. de C.V.; lndustrinas
Monterrey S.A. de C.V.,' Grupc) Iinsa S.A.B. de C.V.,' and Imsaluin, S.A. De C.V.

I.
PARTIES

1.1 All Plaintiffs are 'l`exas eit:izens residing in Corpus Christi, Nueces County,
Texas. Plaintift` Rene Cainpos and Plaintiff Maria Delgado Cainpos are married and are
the natural parents Of minor Marelly Delgado Cainpos. Rene Cainpos brings suit for
damages for personal injuries he sustained as a result Of the failure Of a ladder designed,
manufactured, and/Or sold by Defendant. Maria Delgado Cainpos brings suit
individually for damages she sustained as a result Of the seriOus, perinanent, and

disabling injuries to her husbandl As next friend, l\ftaria Delgado Cainpos brings suit for

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damages sustained b_\' minor f\larell_\' l)eigado Cainpos as a result of the serious,
permanent and disabling injuries to her father

'l.?. l_')efendant, louisville l,adder, lnc., is a l)ela\\‘are corporation \\‘ith its
printii]i.)al place of business in l<entucl<v lhus, l)eienc_lant has l)ela\\‘are and |{entucl<_\'
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'l,§i l_)efendant, (_:or};)orati\’c_) (irupo lmsa 5").,-\\ de (,`.\`., is a ,\te,\iiian entity and
doing business in texas and the ljnited States.

'l.l Detendant, lndustrinas f\lonterrey S.A. de C.\"., is a Nlexican entity and
doing business in texas and the United States.

1.5 Defendant, Grupo Iinsa S.A.B. de C.V., is a i\ffexican entity and doing
business in Texas and the United States.

1.6 Defendant, lmsalum, S.A. De C.V., is a l\/lexican entity and doing business
in rl`exas and the United States.

1.7 Louisville Ladder, lnc. ; Corporativo Grupo Iinsa S.A. de C.V.; Industrinas
Monterrey S.A. de C.V.; Grupo lmsa S.A.B. de C.V.,' and linsalum, S.A. De C.V., are all
affiliated entities that were involved in the manufacture, design and distribution of the
subject ladder. As such, said defendants will be collectively referred to herein as
”Defendants.”

II.
VENUE AND ]URIsDIcTioN

2.1 rl`his Court has subject matter jurisdiction over this action pursuant to 28
U.S.C. §1332(a), because this action, which has an amount in controversy in excess of
$75,000, exclusive of interest and costs, is between citizens of different states.

2.2 'fhe Court has specific and general personal jurisdiction over Defenclants

because it purposely availed itself of the privilege of conducting activities within Texas,'

 

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it has substantial and continuous contacts \\'ith the State of texas, generallyv and \\'ith
respect to this action, to satisfy both general and specific minimum ct'intact_s; and
exercising jurisdiction l)efendants do not offend the traditional notions of fair play and
substantial justicel

_'?..§`i this is a j'.)roper \'enue, pursuant to ,'»‘,t»’ t,`.ES.(__. §§ `|§if?`l(al, because it is the
|)istrict in which a substai'itial part ot the events or omissions giving rise to the claim
occurred and is l)etendants' residence for purposes of 28 l,'.$.(j. § `lf)_@'l(c).

2.~1 this is also convenient venue because Corpus Christi, Nueces County,
'l`exas, is where all or a substantial part of the events or omissions giving rise to
Plaintiffs’ claims occurred. Specifically, the ladder failure made the subject of this suit
occurred in Corpus Christi, Nueces County, Texas, and Rene Campos fell from the
ladder and suffered the personal injuries made the basis of this suit in Corpus Christi.
At this time, Rene Campos remains in an assisted care facility in Corpus Christi, where

he requires 24-hour/ day care.

III.
BACKGROUND FACTS

3.1 On or about ]une 15, 2008, Plaintiff Rene Campos was trimming trees
outside a home in Corpus Christi, Nueces County, Texas. At the time of the incident,
Campos was using an aluminum ladder designed, manufactured, and / or distributed
by Defendant, Louisville Ladder. True copies of photographs of the ladder in question
are attached as Exhibit A to this complaint

3.2 W hile using the ladder in its fully extended and locked position, the
ladder's legs failed and caused the ladder and Campos to fall. As a result of the ladder
failure and resulting fail, Campos suffered serious, permanent, and disabling injuries to

his body and head.

 

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33 the injuries (jampos sustained include, among other injuries, severe head
trauma. '\\'hen the ladder failed and he fell, (jampos struck his head on the cement
}_‘)a\-'ement. i--\s a result of his head injuries, ("_`ampos still requires .').~l--hour/da_\' assisted
care in a managed care facility in C`orpus (fhristi, `l`e,\'as. i»\t this time, it appears that
(_'.`amj:)os will lil<ely require assistance for the reminder of his lite due to these
debilitating injuries

ii.-l the Campos family is very close, and just three months after Rene
Campos’s injuries, the family blessed by the birth of daughter i\farelly Delgado
Campos. The Campos family has been devastated by the tragic and completely
debilitating injuries suffered by its provider and leader, Rene Campos. lnstead, the
Campos family is required to tal<e care of and provide for Rene Campos. The Campos
family"~once close, happy, and active_has become constantly depressed, worried, and
anxious about the future. their loving and supportive father will never be the same.

CAUSES OF ACTION AGAINST DEFENDANTS

IV.
MANUFACTURING DEFECT

4.1 At all pertinent times, Defendants were engaged in the business of
designing, manufacturing marketing selling, distributing and/ or otherwise placing
ladders into the stream of commerce.

4.2 Defendants designed, manufactured, marketed, sold, distributed, and/ or
otherwise placed the ladder from which Rene Campos fell into the stream of commerce.

43 When it left Defendants’ control, defects in the manufacture of the ladder

in question rendered it defective and unreasonably dangerous

 

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-i.-i lhe ladder was dangerous to an extent beyond that which would be
contemplated by the ordinary user of the ladder, with the ordinary kno\\'ledge common
to the community as to the ladder's characteristicsl

-i.§i t§pon information and belief, l)t:i'triici¢iiits’ manufacturing and testing
ji)roces.sse‘;; \\'ere so haphazard and deficient that numerous inanufi-icturing defects were
likely to result, any one of which \\'ould have rendered the ladder defective and
unreasonably dangerous and caused the ladder to fail as it did at the time of Rene
Campos’s incidentl Because of l)efendants' inadequate manufacturing process and
quality control procedures, ladders with manufacturing defects were likely to reach
users such as Campos.

4.6 By way of example and not limitation, failing to properly cure and/ or use
the proper aluminum alloy mixture/ ratio in a ladder’s manufacture would increase the
risk that the ladder would fail while being subjected to normal use for its intended
purposesl Based on information and belief, Defendants have used aluminum alloys in
manufacturing its ladders (b) that did not contain proper proportions of component
materials,' (c) whose component materials were not properly mixed or distributed,'
and/ or (a) that were not properly heat treated or cured.

4.7 Rene Campos used the ladder in question for its intended and
foreseeable purpose. At the time of Campos’s incident, no material alterations had been
made to the ladder, and it was in the same or substantially similar condition as when it
left Defendants’ control.

4.8 The defective manufacture of the ladder was a producing cause of Rene

Campos’s injuries and Plaintiffs' damages

 

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V.
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designing mannfacturin0
ladders into the stream of commerce.

§it.')_ l')eft'_‘i“idant's designed, mannfactnrerl, marketet'l, soltl, distriljnltt'_‘d, and/or
other\\'ise placed the ladder from which l{ene (iaiiij)t)s fell into the stream of commerce.
33 \\"hen it left Defendants’ control, defects in the design of the ladder in
question rendered it defective and unreasonably dangerous taking into consideration
the utility of the ladder and the risk involved in its use.

5.4 At the time the ladder left Defendants' control, safer alternative designs
for the ladder existed, which were economically and technologically feasible and would
have prevented or significantly reduced the risk of injury to users of the ladder such as
Rene Campos, without substantially impairing the ladder's utility. Such safer
alternative designs include, but are not limited to, thicker aluminum framing and
stronger bracing.

5.5 Rene Campos used the ladder in question for its intended and
foreseeable purpose. At the time of Campos's incident, the ladder was in substantially
the same condition as it was at the time it was placed into the stream of commerce. No
material alterations were made to the ladder, and it was in the same or substantially
similar condition as when it left the control of Defendants.

5.6 The defective design of the ladder was a producing cause of Rene

Campos's injuries and Plajntiffs' damages

 

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VI.
Ni-;GLic,rNci:

ti.'l l)efendants committed acts of omission and commission, i\'hich
collectively and severally constituted negligence, and that negligence proximately
caused Rene Cfampos's injuries and Plainti|"fs' damages

o..'), l,`)efe,ndants’ acts or omissions constituting negligenct_\ include, but are not

limited to, the follo\\’ing:

a. failing to properly manufacture the ladder,l

b. failing to adopt and / or implement proper quality control procedures;

c. failing to properly test the ladder;

d. failing warn users or consumers of known dangers and defects associated

with the ladder,‘

e. failing to disclose post-sale information known about the dangers or
defects of the ladder,' and

f. failing to properly design the ladder.

VII.
GRoss NEGLIGENCE

7.1 Defendants committed acts of omission and commission, which
collectively and severally, constituted gross negligence, and that gross negligence
proximately caused of the Rene Campos's injuries and Plaintiffs’ damages for which
Plaintjffs are entitled to recover punitive damages

7.3 When viewed objectively, Defendants' conduct involved an extreme
degree of risk, considering the probability and magnitude of harm to others
Defendants knew of this extreme risk, but nevertheless proceeded with conscious

indifference to the rights, safety, and welfare of others, including Rene Campos.

 

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'/'.-l l)efendants, or their predecessors in interest have been sued previously
where it was alleged that a leg or legs of the subject aluminum ladder failed and caused
injury.

'/'.E\' l_')efendants, or their predecessors have been made aware of pre\-'ious
incidents \\‘here it was alleged that a leg or legs of one if its aluminum ladders failed
and caused injury.

'/'.(_i Despite this kno\\'ledge, l)efendant's failed to take the actions necessary to
prevent similar tragedies.

7.7 Defendants knew of the dangers possessed by the subject ladder but
designed, manufactured, and sold the ladder in question in a compromised condition
and failed to warn consumers of these dangers

DAMAGES

VIII.
AcrUAL DAMAGES

S.l As a result of Defendants' conduct and the defective ladder, Rene Campos
suffered serious permanent, and disabling injuries and is entitled to recover from
Defendants damages for past and future medical expenses loss of earning capacity,
physical pain, mental anguile physical impairment, and disfigurement

8.2 As a result of the serious, permanent, and disabling injuries to Rene
Campos, his wife, Maria Campos is entitled to recover from Defendants damages for
past and future pecuniary loss, loss of household services, and loss of consortium.

8.3 As a result of the serious permanent and disabling injuries to Rene
Campos, his daughter, lvlarelly Delgado Campos, is entitled to recover from Defendants

damages for past and future loss of parental consortium.

 

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IX.
PuNi'i‘ivr_ DAi\-i.¢\c;rs

L).`I Because Defendants are guilty of gross negligence, it should have punitive
damages assessed against it and ai\'arded to I)|aintiffs, as a deterrent to such future bad

conduct and as a punishment for its bad acts, in an amount deemed approji)riate by the

jury.
X.
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'l_t).'l Plaintiffs seek pre-judgment and postjudgment interest at the maximum
legal rate.

XI.
]uRY DEMAND

ll.l Plaintiffs hereby request a jury trial.

XII.
CoNDirioNs PRECEDENT

12.1 All conditions precedent to Plaintiffs' rights to recover herein and to

Defendants' liability have been performed or have occurred.
PRAYER

WHEREFORE, PREMISES CONSIDERED, Plaintiffs request this cause be set
down for trial before a jury and that Plaintiffs recover judgment of and from
Defendants for their actual and exemplary damages in such amount as the evidence
shows and the jury determines to be proper, together with pre-judgment interest, post-
judgment interest, costs of suit, and such other and further relief to which Plaintiffs may

show themselves to be justly entitled, whether at law or in equity.

 

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'l`l~lE LA\“V OFFICES OF '\.'\llLLlAi\/I
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